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 4   Attorney for Defendant, JOSE QUINTANILLA-SILVA
 5
                    IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                               EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,   )               CASE NO. 06-00171
                                 )
 9        Plaintiff,             )
                                 )               STIPULATION AND ORDER
10        v.                     )
                                 )
11   JOSE QUINTANILLA-SILVA,     )
                                 )
12        Defendant.             )
     ____________________________)
13
           The parties hereto, by and through their respective attorneys, stipulate and
14
     agree that the Sentencing scheduled for October 6, 2008 be continued until
15
     October 20, 2008 at 9:00 a.m. in the above-entitled court.
16
           The requested continuance is appropriate because defense counsel requires
17
     additional time to gather documentation describing Mr. Quintanilla-Silva’s
18
     rehabilitation efforts.
19
           The parties also agree that any delay resulting from this continuance shall
20
     be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
21
     3161(h)(8)(A) and 3161(h)(8)(B)(I).
22
23   DATED: September 29, 2008            /s/ Laurel J. Montoya       __
                                          LAUREL J. MONTOYA
24                                        Assistant United States Attorney
                                          This was agreed to by Ms. Montoya
25                                        in person on September 29, 2008
26
     DATED: September 29, 2008            /s/ Roger K. Litman
27                                        ROGER K. LITMAN
                                          Attorney for Defendant
28                                        JOSE QUINTANILLA-SILVA

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 1
     IT IS SO ORDERED.
 2
     Dated: September 29, 2008             /s/ Oliver W. Wanger
 3   emm0d6                           UNITED STATES DISTRICT JUDGE
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